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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-CR-80022-CANNON/REINHART

       UNITED STATES OF AMERICA

       vs.                                                        UNDER SEAL

       DANIEL M. CARVER, et al.,

                             Defendants.
                                             /

        UNITED STATES’ REPLY IN SUPPORT OF PARTIALLY OPPOSED MOTION FOR
         PROTOCOL GOVERNING MATERIAL SUBJECT TO CLAIMS OF PRIVILEGE

             The United States of America, by and through its assigned Filter Team, respectfully

   submits this Reply in support of its Partially Opposed Motion for a Protocol Governing Materials

   Subject to Claims of Privilege [Dkt No. 177] (the “Motion”). Nine of the ten Defendants in this

   matter do not oppose entry of the protocol attached as Exhibit A to the Motion (the “Proposed

   Protocol”); Defendant Gosney is the only party who opposes its entry. Good cause supports the

   entry of the Proposed Protocol because it provides an objective, orderly mechanism for ostensible

   privilege holders, including Gosney, to assert applicable privileges, while narrowing and resolving

   any privilege disputes. Further,

                                                                                    pursuant to which

   the Filter Team has been processing PPM1 and non-PPM. Changing the procedure now would

   disrupt the filter process that is already underway,                                         .

             Gosney’s objection to the Proposed Protocol is based on a premise that would upend settled

   discovery and search warrant law and procedures by preventing any Government review of such


   1
     “PPM” is “Potentially Protected Material” that could potentially garner the protections of the
   attorney client privilege, work product doctrine, or other legally recognized privileges.
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   material—even by a Filter Team—until after arguable privilege holders review it all, needlessly

   delaying and hindering investigations and prosecutions. In short, the Opposition extensively

   cites—and misconstrues—a recent Eleventh Circuit decision, Korf,2 to argue that the Proposed

   Protocol is per se improper. Gosney claims he is entitled to conduct a privilege review over the

   entirety of the search warrant returns before the Filter Team provides non-PPM to the Prosecution

   Team. This position is not supported by Korf, which plainly states that Government filter teams

   are generally permitted to conduct initial privilege reviews. See Korf at *11; Korf District Court

   Order3 at *4 (“At the outset, the Court rejects the movant’s argument that the use of government

   filter teams to conduct privilege reviews is per se legally flawed.”). Nor does this position find

   support in the multiple other cases where Gosney’s counsel has raised it; instead, courts in this

   District and Circuit have consistently rejected the argument,

                                             Ex. M (Order on Motion for Discovery Protocol, United

   States v. Stein, (“Stein”) No. 21-CR-20321 (S.D. Fla.)); see also Mot. at 6-7 (collecting cases).

          Moreover, the Opposition’s request for a blanket rule entitling parties to first review search

   warrant returns before the Government may access them is fundamentally incompatible with Rule

   41. To require otherwise would disrupt the Government’s ability to search material whenever

   there is even a suggestion of PPM—including in ordinary searches of businesses. Korf District

   Court Order at *6 (contrasting that case from ordinary business searches that may contain PPM).

   As opposed to the one-size-fits-all approach advocated by Defendant Gosney, the Proposed



   2
    In re: Sealed Search Warrant and Application for Warrant by Telephone or Other Reliable
   Electronic Means, No 20-14223, 2021 WL 3852229 (11th Cir. Aug. 30, 2021).
   3
    In re Sealed Search Warrant & Application for a Warrant, No. 20-MJ-03278, 2020 WL 5658721
   (S.D. Fla. Sept. 23, 2020), Aff’d sub nom. In re Sealed Search Warrant & Application for a
   Warrant by Tel. or Other Reliable Elec. Means, No. 20-03278-MJ, 2020 WL 6689045 (S.D. Fla.
   Nov. 2, 2020), aff’d, No. 20-14223, 2021 WL 3852229 (11th Cir. Aug. 30, 2021).


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   Protocol provides an objective mechanism tailored to the needs of this case to reasonably identify

   and segregate privileged materials through the application of keyword search terms.

          Finally, the Filter Team enjoys a separate reporting and supervisory chain from the

   Prosecution Team—despite the Opposition’s suggestion otherwise—sufficient to satisfy Korf.

   Accordingly, the United States respectfully requests that the Court grant the Filter Team’s Motion.

                                              ARGUMENT

   I.     PROTOCOLS AUTHORIZING FILTER TEAMS TO SEGREGATE PPM ARE
          SUPPORTED BY THE ELEVENTH CIRCUIT’S KORF DECISION, OTHER IN-
          DISTRICT AND IN-CIRCUIT CASE LAW, AND RULE 41




   Gosney’s request to refashion this procedure now would upend the filter process that is already

   underway. The protocol provides a fair, orderly mechanism for handling privilege assertions and

   any related disputes by authorizing the Filter Team to identify and segregate PPM through case-

   specific keyword searches, and to produce PPM to privilege claimants for assertion. Proposed

   Protocol ¶¶ 8-9. This structure satisfies Korf and Federal Rule of Criminal Procedure 41, and this

   formulation already has been approved by several courts within this Circuit,

                                , as well as other courts in this District and Circuit.

          First,                                         , other courts in this District and Circuit have

   adopted similar privilege protocols. See Mot., Ex. M (Stein Protocol Order); Mot. at 6-7 (collecting

   cases). Similarly, Korf considered and rejected the claim4 that it is per se inappropriate for



   4
     As noted above, Defendant Gosney’s counsel in this matter, Howard Srebnick, also represented
   the party filing the Korf appeal, as well as the defendant opposing entry of the protocol in Stein.
   See Opp. at 5, n.1. Despite the Eleventh Circuit’s plain rejection of these same arguments in Korf
   and Chief Judge Altonaga’s similar conclusion in Stein, Gosney and his counsel remain steadfast



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   government filter teams to make initial privilege determinations. Korf at *11 (“Intervenors cite no

   cases for the broad remedy they seek: a holding that government agents ‘should never . . . review

   documents that are designated by their possessors as attorney-client or work product privileged[ ]

   until after a court has ruled on the privilege assertion.’ Nor has our research unearthed any.”).

            Next, Korf did not, as Defendant Gosney suggests, hold out the protocol in that case as a

   model privilege protocol in this Circuit. In fact, Korf expressly admonishes parties not to do so.

   Compare Korf at *12, n.10 (“We do not prejudge other filter protocols that are not before us.

   Rather, we . . . simply conclude that, under the circumstances here, [the modified] Protocol

   suffices, even under frameworks of analysis that other Circuits have used to invalidate other

   protocols.”), with Opp. at 9 (claiming in Korf “the court made clear the salient protections

   contained in the modified filter team protocol (that are not present in the Filter Team’s proposed

   protocol) [sic] that saved it from possible invalidation”), and Opp. at 11-12. The Opposition,

   however, turns Korf’s reasoning on its head, arguing that this Proposed Protocol is necessarily

   insufficient because it differs from the one in Korf. Id. In reality, Korf only affirmed that modified

   protocol after surveying the varying standards of “sister circuits,” and concluding that, despite the

   appellant’s wide-ranging objections, the protocol satisfied even the most stringent standards used

   by other Circuits. Korf at *13 (the protocol “appears to us to comply with even the most exacting

   requirements other courts that have considered such protocols have deemed appropriate”).

            In further support of its inverted logic, the Opposition focuses on Korf’s discussion of two

   decisions from the Fourth and Sixth Circuit Courts of Appeal, Baltimore Law Firm5 and Winget,6


   that the Government’s use of filter teams is somehow per se improper. See Opp. at 6, n.3 (Gosney
   “maintains that government agents can never review documents designated” as privileged).
   5
    In re Search Warrant Issued June 13, 2019 (“Baltimore Law Firm”), 942 F.3d 159 (4th Cir.
   2019).
   6
       In re Grand Jury Subpoenas 04-124-03 and 04-124-05 (“Winget”), 454 F.3d 511 (6th Cir. 2006).


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   which applied more heightened privilege protocol standards due to the particular facts at issue in

   those cases. But the Opposition fails to mention that Korf did not adopt these Circuits’ stricter

   standards and found the facts giving rise to those standards inapposite. Korf at *12 (“As with

   Winget, none of the concerns the Fourth Circuit identified in Baltimore Law Firm apply here.”).

          Importantly, the Korf decision also reviewed the standards adopted by the majority of other

   federal Circuits—namely, the Second, Third, Fourth, Fifth, Seventh, Eighth, Ninth and Tenth

   Circuits—noting that these courts all have upheld the use of government filter teams to screen for

   privilege to varying degrees. Korf at *11 (citing other Circuits’ decisions approving or declining

   to criticize the use of filter teams). As explained in Korf, a primary justification for those courts’

   approval of using filter teams to screen for privilege was that “the filter team process was ‘designed

   to protect [the] privileged information.’” Id. (quoting United States v. Jarman, 847 F.3d 259, 266

   (5th Cir. 2017)); see also id. at *10 (noting importance of protecting privilege). As discussed infra

   § II, the Proposed Protocol is indeed designed to protect privileged information using objective

   keyword search terms and other mechanisms tailored to meet the facts and needs of this case.

          Further, the Proposed Protocol is consistent with Rule 41, which provides the governing

   framework for the issuance and execution of search warrants. See Fed. R. Crim. P. 41. At no point

   does Rule 41 contemplate that an individual from whom property is seized is entitled to first

   receive possession of search warrant returns even before the Government reviews the material.

   Yet, the Opposition seeks to write this requirement into Rule 41.7 Such an approach would



   7
     Courts considering similar arguments have rejected claims that the Government is required to
   subordinate its warrant power under Rule 41 to that of a subpoena power. In re Search Warrants
   Executed on Apr. 28, 2021, No. 21-MC-425, 2021 WL 2188150, at *1 (S.D.N.Y. May 28, 2021),
   (“Giuliani and Toensing argue that the materials seized pursuant to the April 2021 warrants should
   be returned to them so that they may review them in the first instance for responsiveness and
   privilege. . . . There is no legal requirement for the Government to proceed by subpoena, nor is
   there any basis for the subject of an investigation to require it to do so.”).


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   undermine Korf’s entire justification for approving a modified protocol in that case that deviated

   from the standard process set forth by Rule 41—the unique facts there compelled unique

   considerations. In cases where attorney records are specifically sought, or parallel proceedings

   would be implicated, or similar factual bases exist, it is entirely appropriate for courts to consider

   whether further protocol protections are appropriate, as was done in Korf, and Baltimore Law Firm,

   and Winget. The Opposition asks the Court to erase those distinctions and apply—as a matter of

   course—a protocol beyond the prescriptions of Rule 41.

   II.    THE PROPOSED PROTOCOL IS MORE BALANCED AND APPROPRIATE
          THAN THE HEIGHTENED PRIVILEGE PROTOCOL DEMANDED BY GOSNEY

          A.      The Proposed Protocol Objectively Protects Privilege by Reasonably
                  Identifying and Segregating PPM Through Keyword Search Terms.

          The Proposed Protocol utilizes an objective process by applying tailored keyword search

   terms to reasonably identify PPM where the Government reasonably expects to encounter it, and

   segregate and protect that PPM from disclosure. Moreover, the Proposed Protocol provides parties

   and privilege claimants the opportunity to review and assert privilege as to all identified PPM

   before it is released to the Prosecution Team. This process

                                      , and its adoption here would enable the Filter Team to complete

   its filter review of the PPM and promote consistency regarding the handling of PPM in this matter.

          The material to be processed through the Proposed Protocol includes items already in the

   Government’s possession that are reasonably likely to contain attorney communications. See Mot.

   at 2-4; Opp. at 1 (describing material).                                    the Filter Team already

   segregated documents that reasonably contain PPM by applying keyword search terms targeted

   toward the individuals and attorneys identified in this case. In formulating these terms, the Filter

   Team sought input from the parties and privilege holders, including Gosney, who provided

   attorney names to be used as search terms.                                                      If the


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   Court approves the Proposed Protocol, the Filter Team will again seek input from the parties and

   privilege holders regarding appropriate attorney information or other PPM-related search terms.

          Under the Proposed Protocol, if there is a reasonable basis to conclude a document may

   contain PPM, it is segregated and placed into the protocol review process. It is then produced to

   the potential privilege claimant for an opportunity to assert privilege with particularity through a

   privilege log. The Proposed Protocol then permits parties an opportunity to discuss and attempt

   to narrow the remaining disputes before material that remains in dispute is submitted to the Court

   for in camera inspection, if necessary, and for adjudication. Importantly, the Filter Team does not

   make privilege determinations, including instances of arguable waiver or application of crime

   fraud exception, which remain solely the Court’s province.8 Together, this process reasonably

   protects disclosure of PPM by use of objective search terms, tied to the particulars of this case.

          B.      Baltimore Law Firm and Winget Are Inapplicable, As Recognized by
                  The Eleventh Circuit and the Southern District Korf Decisions.

          The Opposition nevertheless “urges” the Court to categorically adopt a more onerous

   protocol, such as those described in Baltimore Law Firm and Winget, whereby the Filter Team is

   not permitted to make these objective initial privilege determinations. Defendant Gosney’s

   reliance on these Fourth and Sixth Circuit cases is misplaced, because those decisions hinged on

   the existence of circumstances that, according to those courts, justified the enhanced protocols

   within the context of those cases. None of those circumstances are present here. In Baltimore Law



   8
     Nor does the use of a Filter Team usurp the judicial function, as the Opposition suggests. Opp.
   at 4, 11. As the Southern District of New York recently explained in upholding the use of a filter
   team: “[I]t is a non sequitur to say that merely because the final adjudication of a privilege dispute
   —that is, whether materials that are lawfully in the Government’s possession pursuant to a seizure
   warrant are privileged—is a judicial function, a court may not allow the Government to review the
   materials in the first instance and reserve its power to adjudicate any disputes that may arise.”
   United States v. Avenatti, No. 19-CR-374-1, 2021 WL 4120539, at *5 (S.D.N.Y. Sept. 9, 2021);
   see also id. (citing the Korf Dist. Ct. Order’s analysis distinguishing Baltimore Law Firm).


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   Firm, the Government seized documents pursuant to a search warrant for a lawyer’s records,

   including communications with the lawyer’s other clients who were being investigated or

   prosecuted by the same United States Attorney’s Office for unrelated crimes. Baltimore Law Firm,

   942 F.3d at 167. In Winget, the dispute involved material from a challenged grand jury subpoena,

   where the Government did not have physical control of the subject documents. Winget, 454 F.3d

   at 512. In both cases, these factors were the primary reasons cited as justification for adopting the

   heightened protocols. See Korf at *11-12 (distinguishing Baltimore Law Firm and Winget).

          Neither of those scenarios exists here: the Government is not seeking records from

   Gosney’s attorney or from a law office pursuant to a search warrant, and the Protocol material is

   already largely within the Government’s possession. Even the Winget court agreed that, once

   documents are within the Government’s possession upon execution of a search warrant, using a

   filter team to make initial privilege determinations “is respectful of, rather than injurious to, the

   protection of privilege.” Id. at 522-23; see Korf at *11 (quoting same).

          Similarly, in the District Court proceedings in Korf, Magistrate Judge O’Sullivan made

   clear that, although he ultimately approved the modified privilege protocol, he did so due to the

   particular concerns of that case—not as the sweeping, one-size-fits-all approach advocated by

   Gosney. Indeed, Magistrate Judge O’Sullivan’s order, which the Eleventh Circuit affirmed,

   supported the traditional role of Filter Teams in conducting initial privilege assertions. See Korf

   District Court Order at *4-5 (citing extensive authority supporting filter team reviews and noting

   that “the use of a filter team to review privileged material is not, in and of itself, injurious”). The

   court found that “[t]he instant case is different from the ordinary search of a business where items

   protected by the attorney-client or work product doctrine may sometimes be found.” Id. at *6. In

   particular, Magistrate Judge O’Sullivan found that the privileged material related largely to




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   communications concerning civil forfeiture actions covering the same conduct, raising a risk of a

   cross-contamination if the Government inadvertently obtained privileged information. Id. In light

   of this unique circumstance, he determined that a modified protocol was appropriate. Id.

          Once again, this unique circumstance, which led Magistrate Judge O’Sullivan to conclude

   a modified protocol was appropriate, is not present here.9 See Korf at *4 (Magistrate Judge

   O’Sullivan entered modified protocol because he “concluded [the original protocol] did not

   provide sufficient protection”). Gosney does not provide any factual basis for the Court to

   conclude that a heightened privilege protocol is appropriate here, much less any circumstance as

   in Korf—or Baltimore Law Firm—or in Winget—that colorably would justify such a request. The

   only purported basis in the Opposition for a heightened privilege protocol is Gosney’s passing

   reference that “in-house counsel kept an office at the premises where the search warrant was

   executed.” Opp. at 11-12. But this statement is a red herring. As noted in the Motion, no items

   were seized from the office purportedly belonging to Mr. Fousek, and no individual from the

   Government entered his office other than to secure and clear the office during the initial sweep.

   Mot. at 3, n.4. Thereafter, the Filter Agent assigned to the case sealed the office with tape to

   prevent further entry. Id. Further, until recently, Mr. Fousek represented another Defendant in

   this case, Timothy Richardson, in which capacity Mr. Fousek did not oppose the Proposed

   Protocol’s entry. See Ex. 2 (April 5, 2022 K. Fousek email) (“No objection, for Tim Richardson”).

   III.   THE FILTER TEAM IS SEPARATE FROM THE FRAUD SECTION’S OTHER
          OPERATING UNITS AND HAS AN INDEPENDENT SUPERVISORY AND
          REPORTING CHAIN

          The Filter Team is comprised of members and supporting staff of the U.S. Department of

   Justice’s Special Matters Unit (the “SM Unit”) of the Criminal Division’s Fraud Section. The SM


   9
    Magistrate Judge Torres likewise rejected Gosney’s counsel’s argument in Stein that a heightened
   protocol was appropriate where no relevant factual basis supported one. Mot., Ex. M (Stein Order).


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    Unit, including the undersigned Filter Attorney, has a separate reporting and supervisory chain

    from the Prosecution Team, and members of the SM Unit are not, and will not be, involved in the

    investigation or substantive proceedings related to this matter. See Mot. at 1, n.1 and 6, n.7. At

    Gosney’s request, the SM Unit inserted a new section into the Proposed Protocol expressly to this

    effect:    “2.   The Filter Team shall not share a first-level supervisor with anyone on the

    investigative/prosecution team (the ‘Prosecution Team’). Any supervisor involved in the filter

    team review shall be walled off from the underlying investigation.” Proposed Protocol ¶ 2.10

              Nevertheless, the Opposition argues—without legal or factual support—that the presence

    of the Acting Fraud Section Chief in the upper portion of the Filter Team’s signature block

    somehow suggests that he “presides over both the investigative team and the filter team.” Opp. at

    12. In reality, the SM Unit is an independent component of the Criminal Division’s Fraud Section,

    and the first-level supervisor of the undesigned Filter Team Attorney resides within the SM Unit—

    not any other component of the Fraud Section. As Korf recognized, the key consideration is the

    separation of a “first level supervisor” between Filter Team and Prosecution (Korf at *5), which is

    present here—and memorialized in the Proposed Protocol. Proposed Protocol ¶ 2.

                                               CONCLUSION

              For the above reasons, the Filter Team respectfully requests the Court grant its Partially

    Opposed Motion for a Protocol Governing Materials Subject to Claims of Privilege.




    10
       As noted in the Opposition, Gosney requested two other changes to the Proposed Protocol,
    neither of which is appropriate. Opp. at 2-3. First, Gosney sought to strike Sections 6(e) and 7(f),
    which provide that the Court may find waiver where a party fails to sufficiently assert privilege,
    which is consistent with the well-established rule that the party invoking a privilege bears the
    burden of establishing it. See United States v. Patel, 509 F. Supp. 3d 1334, 1338 (S.D. Fla. 2020)
    (J. Reinhart). Second, Gosney’s request to access search warrant material before the Filter Team
    releases it is inconsistent with Korf and Rule 41, as discussed in the Motion and the instant Reply.


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    This the 29th day of April, 2022         Respectfully submitted,



                                             JOSEPH BEEMSTERBOER, ACTING CHIEF
                                             CRIMINAL DIVISION, FRAUD SECTION
                                             U.S. DEPARTMENT OF JUSTICE

                                       By:   /s/ Timothy J. Coley
                                             TIMOTHY J. COLEY (FL Bar # A5502784)
                                             Trial Attorney
                                             United States Department of Justice
                                             Criminal Division, Fraud Section
                                             Special Matters Unit
                                             1400 New York Avenue NW
                                             Washington, DC 20530
                                             Tel: (202) 514-0395
                                             Timothy.J.Coley@usdoj.gov




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                                    CERTIFICATE OF SERVICE

             I hereby certify that, on April 29th, 2022, I filed the foregoing with the Clerk of the

    Court

                                                  /s/ Timothy J. Coley
                                                  TIMOTHY J. COLEY
                                                  Trial Attorney, Fraud Section
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Coley, Timothy J. (CRM)

From:                  Keith Fousek <kfousek1@gmail.com>
Sent:                  Tuesday, April 5, 2022 2:36 PM
To:                    Coley, Timothy J. (CRM)
Subject:               [EXTERNAL] Re: United States v. Carver - case scheduling/complex designation


Noobjection,forTimRichardson

KeithFousek,Esquire

OnTue,Apr5,2022at2:12PMColey,TimothyJ.(CRM)<Timothy.J.Coley@usdoj.gov>wrote:

 GoodafternoonCounsel,

 

 ThefilterteamintendstoinsertthefollowinglanguageinanewParagraph2oftheproposedfilterprotocolorder:

 

           2.TheFilterTeamshallnotshareafirstͲlevelsupervisorwithanyoneontheinvestigative/prosecution
           team(the“ProsecutionTeam”).Anysupervisorinvolvedinthefilterteamreviewshallbewalledofffromthe
           underlyinginvestigation.

 

 Anupdateddraftoftheorderisattachedforyourreference.Weassumeyourclients’nonͲoppositionisnotaffected
 bythisnewlanguage,butifthatisnotthecase,pleaseadvisenolaterthannoonEasterntomorrow,April6.

 

 Thanks,

 Tim

 

 Timothy J. Coley

 Trial Attorney, Fraud Section

 U.S. Department of Justice (CRM)

 Cell: 202-262-6631

 Email: Timothy.J.Coley@usdoj.gov 

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                                                            Docket  FLSD DocketPage
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                                         Page 8 of 10
From:Coley,TimothyJ.(CRM)
Sent:Tuesday,March29,20222:30PM
To:Rafferty,BrianT.<brafferty@bakerlaw.com>;stevesadow@gmail.com;RobynLynnSztyndor<rls409@nyu.edu>;
HowardSrebnick<HSrebnick@royblack.com>;AlyssaSilvaggi<ASilvaggi@royblack.com>;VictorSherman
<victor@victorsherman.law>;AustinKrtausch<Austin.Krtausch@grayͲrobinson.com>;Mehta,Jason
<jmehta@bradley.com>;Jack@goldbergerweiss.com;MatthewGoldberger<matthew@goldbergerfirm.com>;Keith
Fousek<kfousek1@gmail.com>;ask_pa@bellsouth.net;robert_adler@fd.org
Cc:CikoTorza,Lindita(CRM)<Lindita.Ciko.Torza@usdoj.gov>
Subject:RE:UnitedStatesv.CarverͲcasescheduling/complexdesignation



Counsel,



Followinguptheemailbelow,attachedpleasefindaproposedfilterprotocolorder.Pleaseadviseby5PMEasternthis
FridayApril1,2022whetheryouopposetheattachedprotocol.



Ifyouhavequestionsorwouldliketodiscusstheprotocol,pleaseadvise,andwecansetupatimetodiscuss.



Thanks,

Tim



Timothy J. Coley

Trial Attorney, Fraud Section

U.S. Department of Justice (CRM)

Cell: 202-262-6631

Email: Timothy.J.Coley@usdoj.gov 



From:Queenan,Patrick(CRM)<Patrick.Queenan@usdoj.gov>
Sent:Tuesday,March22,20222:38PM
To:Rafferty,BrianT.<brafferty@bakerlaw.com>;stevesadow@gmail.com;RobynLynnSztyndor<rls409@nyu.edu>;
HowardSrebnick<HSrebnick@royblack.com>;AlyssaSilvaggi<ASilvaggi@royblack.com>;VictorSherman
<victor@victorsherman.law>;AustinKrtausch<Austin.Krtausch@grayͲrobinson.com>;Mehta,Jason
<jmehta@bradley.com>;Jack@goldbergerweiss.com;MatthewGoldberger<matthew@goldbergerfirm.com>;Keith
Fousek<kfousek1@gmail.com>;ask_pa@bellsouth.net;robert_adler@fd.org
Cc:CuylerJr.,Reginald(CRM)<Reginald.Cuyler.Jr@usdoj.gov>;Coley,TimothyJ.(CRM)<Timothy.J.Coley@usdoj.gov>;

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                                                            Docket  FLSD DocketPage
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                                         Page 9 of 10
CikoTorza,Lindita(CRM)<Lindita.Ciko.Torza@usdoj.gov>;Nadler,Arielle(CRM)<Arielle.Nadler@usdoj.gov>
Subject:UnitedStatesv.CarverͲcasescheduling/complexdesignation



GoodafternoonCounsel,



Thegovernmentisproposingtodesignatethecasecomplexandextendthetrialdateouttoallowthepartiessufficient
timetopreparefortrial.Wehavedraftedtheattachedproposedjointmotionforyourreviewandconsideration.In
summary,weseektopushthetrialdateoutduetothenumberofdefendants,thevolumeofdiscovery,natureof
prosecution,andfilterreviewneeded.



Recently,JudgeCannonenteredaprotectiveorder.Thegovernmentwillnowfileitsfirstresponsetothestanding
discoveryorderandwillalsosendoutthefirstproduction(thumbdriveviaFedex)tomorrow.Asecondproductionwill
followinthenext1Ͳ2weekswith302sandotheritems.



Asforthefilterreview,IhavecopiedTimColeyandLinditaCikoTorzafromtheSpecialMattersUnit.Theywillfollow
upwithaproposedprotocolforyourreviewandconsideration.OncethefilterprotocolisapprovedbytheCourt,it
soundslikethefilterteamwillneedupto60Ͳ90daystocompleteitsreviewandproduceallmaterialstothe
prosecutionteamanddefensecounsel.Thereareapproximately620,000documentssubjecttofilterreview.



ArefolksavailabletomorrowafternoonforacalltoconferongatheringsomeproposedtrialdatestoproposetoJudge
Cannoneitherinajointmotion(suchastheattached)orbyrequestingaschedulingconference?Weareavailable
between3Ͳ4porafter5ptomorrow.



Thanks,



PatrickJ.Queenan

TrialAttorney,HealthCareFraudUnit

DepartmentofJustice

CriminalDivision,FraudSection

(202)875Ͳ0326

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                                           Page 10 of 10
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Law Office of Keith A. Fousek Keith A. Fousek, Esquire 6400 SW 16th Street, North Lauderdale,
Florida 33068. Ft. Lauderdale: 954-623-7545 Ft. Lauderdale: 954-543-4161 (office fax) Fort Myers:
239-529-4885 kfousek1@gmail.com To all Schedulers / Hearing Coordinators: Please do not
schedule any hearings unilaterally as they will not be considered coordinated and if in conflict to our
calendar we will request that you cancel and reset. Your cooperation and patience is appreciated.
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and any copy of this message, its attachments, and any printout thereof. Thank you.




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